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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     NORTHERN DIVISION

DANA NESSEL, Attorney
General of the State of Michigan,
                                      No.
           Plaintiff,
v.                                    HON.


ISLAND DISTILLERS, LLC,
           Defendant.
     COMPLAINT FOR PRELIMINARY AND PERMANENT
                    INJUNCTIONS
      PURSUANT TO THE TWENTY-FIRST AMENDMENT
      ENFORCEMENT ACT AND MICHIGAN CONSUMER
                  PROTECTION ACT

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Dated: November 4, 2021
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I.   PRELIMINARY STATEMENT

     1.    Plaintiff, Michigan Attorney General Dana Nessel, brings

this lawsuit against Defendant, Island Distillers, Inc., (Island Distillers)

and seeks preliminary and permanent injunctive relief pursuant to the

Twenty-first Amendment Enforcement Act, 27 U.S.C. § 122a, and costs

and fines pursuant to the Michigan Consumer Protection Act, Mich.

Comp. Laws § 445.901, et seq.

     2.    Island Distillers has illegally sold and shipped intoxicating

liquors to consumers in Michigan without licensure by the Michigan

Liquor Control Commission (MLCC).

     3.    These practices violate several provisions of the Michigan

Liquor Control Code, as well as section 3 of the Michigan Consumer

Protection Act, Mich. Comp. Laws § 445.903.

     4.    The MLCC, in partnership with the Michigan Department of

Attorney General, has dedicated extensive resources to enforcing

Michigan’s alcohol sale and shipping restrictions.

     5.    In furtherance of the efforts to combat illegal sales and

shipments of alcohol and avoid litigation, Plaintiff Nessel has attempted

to stop Island Distillers from making illegal sales and shipments by


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issuing a cease-and-desist letter. See Exhibit 1 (cease-and-desist

letter).

      6.    Island Distillers failed to comply with the cease-and-desist

request.

      7.    Island Distillers continues to violate the alcohol sale and

shipping laws imposed by the Michigan Liquor Control Code and, in so

doing, threatens the health, safety, and welfare of Michigan citizens.

      8.    The Twenty-first Amendment to the United States

Constitution prohibits “[t]he transportation or importation into any

State, Territory, or Possession of the United States for delivery or use

therein of intoxicating liquors, in violation of laws thereof.” U.S.

Const. Amend. XXI, § 2.

      9.    This lawsuit is required to restrain Island Distillers from

engaging or continuing to engage in the violations alleged, to enforce

compliance with Michigan law, to enforce Michigan’s authority over the

transportation and importation of alcoholic liquor into Michigan, and to

protect the health, safety, and welfare of its citizens. See 27 U.S.C.

§ 122a(b)(1)-(2).




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II.   PARTIES

      10.   Plaintiff, Attorney General Dana Nessel, brings this suit in

her official capacity.

      11.   Defendant, Island Distillers, is a Hawaii corporation located

at 577 Pakala St., Honolulu, Hawaii 96825.

III. JURISDICTION

      12.   The Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a, permits state attorneys general to bring a civil action in federal

district courts when the attorney general “has reasonable cause to

believe that a person is engaged in, or has engaged in, any act that

would constitute a violation of a State law regulating the importation or

transportation of any intoxicating liquor.” 27 U.S.C. § 122a(b).

      13.   “Intoxicating liquor” is defined in the Twenty-first

Amendment Enforcement Act as “any spirituous, vinous, malted,

fermented, or other intoxicating liquor of any kind.” 27 U.S.C.

§ 122a(a)(2).

      14.   This Court has jurisdiction pursuant to subsection (c)(1) of

the Twenty-first Amendment Enforcement Act, 27 U.S.C. § 122a(c)(1),

which provides in relevant part:


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      The district courts of the United States shall have
      jurisdiction over any action brought under this section by an
      attorney general against any person, except one licensed or
      otherwise authorized to produce, sell, or store intoxicating
      liquor in such state.

      15.   Island Distillers is not licensed or otherwise authorized to

produce, sell, or store intoxicating liquor in the State of Michigan.

      16.   Plaintiff’s state law claims are so related to the action over

which this Court has original jurisdiction that they form part of the

same case or controversy under Article III of the United States

Constitution. As such, this Court has supplemental jurisdiction over

Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).

IV.   VENUE

      17.   The Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a(c)(2), provides that “[a]n action under this section may be

brought only in accordance with section 1391 of Title 28 or in the

district in which the recipient of the intoxicating liquor resides or is

found.”

      18.   Island Distillers has made an illegal sale and shipment of

intoxicating liquor to an MLCC investigator who resides in Bay City,

Michigan.


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     19.   Bay City, Michigan, is located in the Eastern District of

Michigan federal judicial district.

     20.   Venue in the Eastern District is therefore appropriate

pursuant to the Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a(c)(2).

V.   BACKGROUND

     21.   Since 2015, with the close assistance of the Attorney

General’s Alcohol and Gambling Enforcement Division, the MLCC has

focused on unlicensed entities illegally selling and shipping beer and

wine to consumers in Michigan.

     22.   For the reasons alleged in this Complaint, Plaintiff has

reasonable cause to believe that Island Distillers is violating Michigan

laws governing the transportation and importation of intoxicating

liquor.

     23.   Island Distillers continues to sell and ship spirits directly to

Michigan consumers despite not holding or qualifying for a direct

shipper license in the State of Michigan. Island Distillers’ activities

constitute illegal importation of intoxicating liquors.




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     24.    Michigan law generally prohibits a person from selling,

delivering, or importing alcoholic liquor in Michigan unless the “sale,

delivery, or importation is made by the [C]ommission, the

[C]ommission’s authorized agent or distributor, an authorized

distribution agent approved by order of the [C]ommission, a person

licensed by the [C]ommission, or by prior written order of the

[C]ommission.” Mich. Comp. Laws § 436.1203(1).

     25.   “Alcoholic liquor” is defined in the Michigan Liquor Control

Code as:

     any spiritous, vinous, malt, or fermented liquor, powder,
     liquids, and compounds, whether or not medicated,
     proprietary, patented, and by whatever name called,
     containing ½ of 1% or more of alcohol by volume that are fit
     for use for food purposes or beverage purposes as defined
     and classified by the [C]ommission according to alcoholic
     content as belonging to 1 of the varieties defined in this
     chapter.

     Mich. Comp. Laws § 436.1105(3).

     26.   Spirits satisfy the definition of “intoxicating liquor” in the

Twenty-first Amendment Enforcement Act and “alcoholic liquor” in the

Michigan Liquor Control Code.




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      27.   Island Distillers sells and ships Hawaiian spirits. Island

Distillers <https://www.islanddistillers.com/> (accessed September 20,

2021).

      28.   The MLCC is the sole importer of spirits into this state,

Mich. Comp. Laws § 436.1203(7). No license is available that would

allow Island Distillers to sell and directly ship spirits to Michigan

consumers.

VI.   FACTS

      29.   Island Distillers has not received and does not qualify for a

license to sell or ship alcoholic liquor pursuant to the Michigan Liquor

Control Code.

      2019 Shipments

      30.   In April 2020, an MLCC investigator reviewed common

carrier reports that FedEx had submitted to the MLCC pursuant to

Mich. Comp. Laws § 436.1203 concerning shipments of intoxicating

liquor into Michigan in 2019. The report showed that nine shipments

were sent to Michigan addresses by Island Distillers.




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     Cease-and-Desist Letter

     31.   Based on the MLCC investigator’s findings, in May 2020, the

Michigan Department of Attorney General sent a cease-and-desist

letter to Island Distillers at the mailing address listed on the Hawaii

Business Registration Division, Department of Commerce & Consumer

Affairs. Exhibit 1. This is also the address listed for the entity’s agent.

     32.   The letter was sent via certified mail to the above address,

return receipt requested. The Department of Attorney General received

a signed return receipt.

     33.   The cease-and-desist letter also included excerpts from

common carrier reports from FedEx for 2019 that reflected nine

shipments of alcoholic liquor into Michigan by Island Distillers.

Exhibit 2 (common carrier reports).

     34.   The cease-and-desist letter informed Island Distillers that

its practice of directly shipping alcoholic liquor to consumers in the

State of Michigan is illegal. Furthermore, the cease-and-desist letter

stated that legal action would result if Island Distillers continued its

illegal activity of selling and shipping alcoholic liquor to consumers in

Michigan. See Exhibit 1.


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     Subsequent Shipment

     35.   To investigate whether Island Distillers had discontinued its

illegal shipments following the May 2020 cease-and-desist letter, on

June 1, 2021, an MLCC investigator placed an order on Island

Distillers’ website, www.islanddistillers.com, for the purchase and

shipment of one 750 ml bottle of HAPA Hawaiian Coconut Vodka.

Exhibit 3 (order documentation).

     36.   The MLCC investigator purchased the bottle of vodka for

$35.00 and paid $25.00 for shipping. Exhibit 3.

     37.   On June 3, 2021, the MLCC investigator received a package

at his home in Bay City, Michigan, containing a 750 ml bottle of HAPA

Hawaiian Coconut Vodka. Exhibit 4 (photographs of bottle).

     38.   The return address on the package fulfilling the

investigator’s order read: Island Distillers, 577 Pakala St., Honolulu,

HI 96825. Exhibit 5 (photograph of return address label).




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                                 COUNT I

  CAUSE OF ACTION UNDER TWENTY-FIRST AMENDMENT
                 ENFORCEMENT ACT

      39.   Plaintiff incorporates by reference paragraphs 1-38 as if fully

restated herein.

      40.   Subsection (b) of the Twenty-first Amendment Enforcement

Act, 27 U.S.C. § 122a(b), provides for temporary and permanent

injunctive relief, as follows:

      If the attorney general has reasonable cause to believe that a
      person is engaged in, or has engaged in, any act that would
      constitute a violation of a State law regulating the
      importation or transportation of any intoxicating liquor, the
      attorney general may bring a civil action in accordance with
      this section for injunctive relief (including a preliminary or
      permanent injunction) against the person, as the attorney
      general determines to be necessary to--

      (1) restrain the person from engaging, or continuing to
      engage, in the violation; and

      (2) enforce compliance with the State law.

      41.   Because Island Distillers lacked a license, its sale of spirits

and its shipment of spirits to a Michigan consumer violated the

prohibition in Mich. Comp. Laws § 436.1203(1).

      42.   Section 203, Mich. Comp. Laws § 436.1203, is a state law

that regulates the importation and transportation of intoxicating liquor.

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     43.   Defendant has also violated section 901(1) of the Michigan

Liquor Control Code, Mich. Comp. Laws § 436.1901(1), which also

regulates the importation and transportation of intoxicating liquor.

That provision states:

     A person, directly or indirectly, himself or herself or by his or
     her clerk, agent or employee shall not manufacture,
     manufacture for sale, sell, offer or keep for sale, barter,
     furnish, or import, import for sale, transport for hire, or
     transport, or possess any alcoholic liquor unless the person
     complies with this act.


     44.   Absent temporary and permanent injunctive relief,

Defendant may make similar illegal sales and shipments of alcoholic

liquor to Michigan consumers in the future.

     45.   All nonjudicial means of restraining Island Distillers from

engaging in these violations and enforcing compliance with these

Michigan laws have proven inadequate.

     46.   Accordingly, Plaintiff is entitled to preliminary and

permanent injunctive relief pursuant to the Twenty-first Amendment

Enforcement Act prohibiting Island Distillers from making future sales

and shipments of alcoholic liquor to Michigan consumers.




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                                COUNT II

   MICHIGAN CONSUMER PROTECTION ACT VIOLATIONS

     47.   Plaintiff incorporates by reference paragraphs 1-46 as if fully

restated herein.

     48.   Island Distillers has engaged in illegal alcohol sales and

shipments to a Michigan consumer.

     49.   These practices by Island Distillers constitute unlawful

“[u]nfair, unconscionable, or deceptive methods, acts, or practices in the

conduct of trade or commerce” under section 3 of the Michigan

Consumer Protection Act, Mich. Comp. Laws § 445.903(1), because, by

these actions, Island Distillers has:

     (a) Caus[ed] a probability of confusion or misunderstanding
     as to . . . the approval . . . of goods or services.

                                   ***

     (c) Represent[ed] that goods . . . have approval . . . that they
     do not have . . . .

                                   ***

     (n) Caus[ed] a probability of confusion or of
     misunderstanding as to the legal rights . . . of a party to a
     transaction.

                                   ***


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     (s) Fail[ed] to reveal a material fact, the omission of which
     tends to mislead or deceive the consumer, and which fact
     could not be reasonably known by the consumer.

                                    ***

     (bb) Ma[de] a representation of fact . . . material to the
     transaction such that a person reasonably believes the
     represented . . . state of affairs to be other than it actually is.

                                    ***

     (cc) Fail[ed] to reveal facts which are material to the
     transaction in light of representations of fact made in a
     positive manner.


     50.      Section 5(1) of the Michigan Consumer Protection Act, Mich.

Comp. Laws § 445.905(1), provides for penalties for each violation of the

Act up to $25,000.00, including injunctive relief and costs.

     51.      Accordingly, Defendant is liable for and should be assessed

civil penalties for each of the Michigan Consumer Protection Act

violations.

                          REQUESTED RELIEF
     Plaintiff respectfully requests this Honorable Court to enter an

Order providing for:

     a)       Preliminary and permanent injunctive relief under the

     Twenty-first Amendment Enforcement Act enjoining

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     Defendant from continuing to violate the applicable

     provisions of the Michigan Liquor Control Code;

     b)    Preliminary and permanent injunctive relief under the

     Michigan Consumer Protection Act enjoining Defendant

     from continuing to violate the applicable provisions of that

     Act, Mich. Comp. Laws § 445.905(1);

     c)    The imposition of cumulative civil penalties against

     Defendant pursuant to section 5(1) of the Michigan

     Consumer Protection Act, specifically $25,000.00 for each

     violation of the Act, including violations learned of through

     the course of discovery, Mich. Comp. Laws § 445.905(1);

     d)    Reimbursement of investigative expenses incurred,

     Mich. Comp. Laws § 445.905(1);

     e)    An award of costs and attorney fees, Mich. Comp. Laws

     § 445.905(1);




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     f)    Any other relief determined to be just and appropriate.


                                   Respectfully submitted,

                                   DANA NESSEL
                                   Attorney General

                                   /s Daniel Felder
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                                   Kellie L. McGuire (P85058)
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Dated: November 4, 2021




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